Case 2:Ol-CV-02503-SH|\/|-tmp Document 530 Filed O5/O5/O5 Page 1 of 4 Page|D 665

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IN THE UNITED STATES DISTRICT COURT GHHQY_E PH h:nB
FOR THE WESTERN DISTRICT OF TENNESSEE ` 2 h ‘
WESTERN DIVISION

 

 

FEDERAL EXPRESS CORPORATION,
Plaintiff,

v.

ACCU-SORT SYSTEMS, INC.,

Defendant.
No. 01-2503 Ma/P

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ORDER OF REFERENCE

 

Before the court is the nmtion, filed May 4, 2005, for a
protective order as to the deposition of David DeCook.

The motion is hereby referred to the magistrate judge for
determination. Cu`

so oRDERED this S day of May 2005.

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( SA§UEL H. MAYS, JR.
TED STATES DISTRICT JUDGE

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W`\th F’\u\e 55 and/m 32(b} FP\CrP on

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May 6, 2005 to the parties listed.

Notice of Distribution

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Honorable Samuel Mays
US DISTRICT COURT

